              Case 23-11131-TMH              Doc 1016-1         Filed 12/27/23        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re                                                         Chapter 11

AMYRIS, INC., et al.,1                                        Case No.: 23-11131 (TMH)

                                   Debtors.                   (Jointly Administered)

                                                              Objection Deadline: January 10, 2024 at 4:00 p.m.
                                                              Hearing Date: To be scheduled if necessary


                         NOTICE OF FILING OF FEE APPLICATION

           PLEASE TAKE NOTICE that on December 27, 2023 KTBS Law LLP (“KTBS”),

special counsel for the debtors and debtors in possession (the “Debtors”), on behalf of and at the

sole direction of M. Freddie Reiss (the “Independent Director”), filed its Fourth Monthly

Application of KTBS Law LLP for Compensation and Reimbursement of Expenses, as Special

Counsel for the Debtors on Behalf of and at the Sole Direction of the Independent Director, for

the Period From November 1, 2023 Through November 30, 2023 (the “Application”) seeking fees

in the amount of $33,881.50 for the period from November 1, 2023 through November 30, 2023.

KTBS did not incur – and thus does not seek reimbursement of – any expenses during the such

period. A copy of the Application is attached hereto.

           PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before January 10, 2024 at 4:00 p.m. prevailing Eastern Time.




1
    The location of Debtor Amyris Inc.’s principal place of business and the Debtors’ service address in these
    Chapter 11 cases is 5885 Hollis Street, Suite 100, Emeryville, CA 94608.


187553.1
              Case 23-11131-TMH        Doc 1016-1      Filed 12/27/23     Page 2 of 3




           PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a

copy of the objection or response, if any, by email upon the following: (i) special counsel to the

Debtors, KTBS Law LLP, 1801 Century Park East, 26th Floor, Los Angeles, CA 90067, Attn:

Samuel M. Kidder (skidder@ktbslaw.com) and Nir Maoz (nmaoz@ktbslaw.com); (ii) counsel to

the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,

Wilmington, DE 19899, Attn: James E. O’Neill (joneill@pszjlaw.com) and Jason H. Rosell

(jrosell@pszjlaw.com); (iii) the Office of the United States Trustee for the District of Delaware,

844 King Street, Suite 2207, Wilmington, DE 19801, Attn: John Schanne

(john.schanne@usdoj.gov); (iv) counsel to the Official Committee of Unsecured Creditors,

White & Case LLP, Attn: John Ramirez (john.ramirez@whitecase.com) and Stephen E. Ludovici

(stephen.ludovici@whitecase.com); (v) counsel for the DIP Agent, DIP Lender, and Prepetition

Agent, (a) Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market

Street, P.O. Box 1709, Wilmington, DE 19899, Attn: David M. Fournier

(david.fournier@troutman.com) and Kenneth A. Listwak (ken.listwak@troutman.com), and (b)

Goodwin Procter LLP, The New York Times Building, 620 Eighth Avenue, New York, NY

10018, Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com), Alexander J. Nicas

(anicas@goodwinlaw.com), Artem Skorostensky (askorostensky@goodwinlaw.com), and Sari

Rosenfeld (srosenfeld@goodwinlaw.com); and (v) any party that has requested notice pursuant

to Bankruptcy Rule 2002.

           PLEASE TAKE FURTHER NOTICE that on September 14, 2023, the Bankruptcy

Court entered the Order Establishing Procedures for Interim Compensation and Reimbursement

of Expenses of Professionals (the “Order”) [Docket No. 279]. Pursuant to the Order, in the

absence of timely filed objections or responses, and upon the filing with the Bankruptcy Court of




187553.1
              Case 23-11131-TMH        Doc 1016-1      Filed 12/27/23     Page 3 of 3




a certification of no objection, the Debtors are authorized to pay the professionals eighty percent

(80%) of the fees, and one hundred percent (100%) of expenses without further notice or

hearing. All fees and expenses paid to the professionals are subject to final approval by the

Court.

           PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.


Dated: December 27, 2023                      KTBS LAW LLP



                                              /s/ Samuel M. Kidder
                                              David M. Stern
                                              Samuel M. Kidder
                                              Nir Maoz
                                              1801 Century Park East, 26th Floor
                                              Los Angeles, CA 90067
                                              Telephone: (310) 407-4000
                                              Facsimile: (310) 407-9090
                                              Email: dstern@ktbslaw.com
                                              skidder@ktbslaw.com
                                              nmaoz@ktbslaw.com

                                              Special Counsel for the Debtors




187553.1
